       MAGISTRATE JUDGE HOLMES COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS
                      VIDEOCONFERENCE       ✔ COURTROOM
U.S.A. v. Kilmar Armando Abrego Garcia                                                       , No. 3:25-cr-00115

ATTORNEY FOR GOVERNMENT:                 Rob McGuire and Jeremy Franker


ATTORNEY FOR DEFENDANT:                  Will Allensworth, Dumaka Shabazz, Richard Tennent             AFPD        Panel   Retained

PRETRIAL SERVICES/PROBATION OFFICER: Tiana Rock

INTERPRETER NEEDED?            YES    NO          LANGUAGE/INTERPRETER: Spanish / Judith Kristy and Richard Singer
                                                    PRESENT   TELEPHONE       VIDEO

   Defendant consents appear to before the Magistrate Judge by video conference.

   INITIAL APPEARANCE               ON A SUMMONS             ARRESTED ON:
      DEFENDANT HAS A COPY OF:
         Complaint       Indictment      Information       Supervised Release Pet.    Other ____________________
         Defendant advised of the charges and the maximum penalties          Defendant has a copy of notice of rights
         Defendant advised of right to counsel                      Counsel retained
         Financial affidavit filed under penalty of perjury                                              FPD Appointed
         Defendant advised of right to silence
         Defendant advised of right to Consular notification                 Counsel app't based on counsel's statement
         GOV'T and DEFENDANT advised of Due Process Protections Act of 2020
         Defendant advised of right to preliminary hearing                  Defendant waived preliminary hearing
         Government motion for detention                                    Defendant temporarily detained
         Defendant waived detention hearing                                 ICE detainer on defendant
         Defendant reserved right to hearing in future                      Defendant to be returned to State custody
         Defendant to remain in Federal custody                             Defendant waived rights under IAD
         Defendant to remain on current conditions of supervised release
         Defendant ordered to psychological/psychiatric evaluation
         Defendant released on:
                 Own recognizance with conditions of release         standard       special
                 Appearance bond in the amount of:
                 Property bond [description of property]:
         RULE 5 - Defendant advised of right to identity hearing            Defendant waived identity hearing
         RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
         RULE 5 - Defendant elected to have detention hearing in District of Prosecution
         RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE 20 TRANSFER
   PRELIMINARY/DETENTION/ARRAIGNMENT CONTINUED TO:

   GRAND JURY WAIVED IN OPEN COURT                 [Defendant sworn and advised of rights by Court]
   ARRAIGNMENT
        Defendant acknowledges he/she has copy of Indictment/Information         Court advised Def. of penalties
        Defendant waives reading thereof             Indictment/Information read to defendant by Judge
     PLEA:     GUILTY        NOT GUILTY               Defendant intends to plead guilty and case referred to DJ




       DATE: 06/13/2025                              TOTAL TIME: 1 min arraignment 6 hours 39 minutes DH
       BEGIN TIME: 10:05am                           END TIME: 4:45pm
         Digitally Recorded          Court Reporter:_____________________________

       Form Revised 2/9/2018                    Page 1 of 2
          Case 3:25-cr-00115         Document 53 Filed 06/13/25                          Page 1 of 2 PageID #: 458
UNITED STATES OF AMERICA v. Kilmar Armando Abrego Garcia                               NO. 3:25-cr-00115


   RULE 5 IDENTITY HEARING
        Held, defendant found to be person named in warrant
        Held, defendant found NOT to be person named in warrant and released
        Waived in open Court

   PRELIMINARY HEARING                      CONTINUED TO:
        Probable Cause found/Held to answer/bound over                          Discharged from custody
        Defendant waived preliminary hearing
        RULE 5 - Held to answer in District of Prosecution
        RULE 5 - Defendant reserved right to have hearing in District of Prosecution

   DETENTION HEARING                         CONTINUED TO: taken under advisement
        Government withdrew motion for detention or agreed to release
        Pretrial Services Report made a part of the record        Counsel moved to retain copy of PTSR/granted
        Bond set at: ___________________                 Defendant released on [date]:                  ______
        RULE 5 - Defendant elected to have hearing in District of Prosecution
        Defendant waived detention hearing                Defendant reserved right to hearing in future
        Defendant detained, order to enter                ICE detainer pending
        Defendant to remain in Federal custody            Defendant to be returned to State custody
        Government moved for stay of execution of release pending appeal
                 Motion granted                           Motion denied
        Defendant advised of right to appeal

   ARRAIGNMENT ON MISDEMEANOR
        Defendant acknowledges he/she has copy of Indictment/Information
        Indictment/Information read to defendant by Judge      Defendant waives reading thereof
     PLEA:      GUILTY          NOT GUILTY
        Misdemeanor - defendant consented to trial before Magistrate Judge
        Written plea agreement/filed in open Court             Oral plea agreement
        Guilty plea:           Accepted                Rejected                Taken under advisement

   OTHER
       Type of hearing and outcome:


   DEFENDANT DID NOT APPEAR AS DIRECTED, BENCH WARRANT ISSUED


NOTES/EVIDENTIARY MATTERS/SENTENCING:                        (Witnesses, Exhibits, Attach W/Ex List if necessary)

W/Ex List attached




                                                  Page 2 of 2

          Case 3:25-cr-00115        Document 53        Filed 06/13/25      Page 2 of 2 PageID #: 459
